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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.: 2:16cv14413


   TAVARES DOCHER, by and through
   JANICE DOCHER-NEELEY, his mother
   and legal guardian,
                         Plaintiff,                              Expert Report
   vs.                                                                of
                                                                Melvin L. Tucker
   CHRISTOPHER NEWMAN,
   individually; CLAYTON MANGRUM,
   individually; CALVIN ROBINSON,
   individually; WADE COURTEMANCHE,
   individually; KEN J. MASCARA, as
   SHERIFF OF ST. LUCIE COUNTY,
   Florida; JOSE ROSARIO,
   individually; and the ST. LUCIE
   COUNTY FIRE DISTRICT, an
   independent specialized district,

                           Defendants.
   ____________________________________/

                                               Retention

   My name is Melvin L. Tucker. I was retained by counsel for the plaintiff to review the use of
   force against Tavares Docher by St. Lucie County, Florida Deputies Christopher Newman,
   Clayton Mangrum, and Calvin Robinson which occurred on May 11, 2014.

   I was asked to render my opinions as to whether the deputies violated applicable standards of
   care for dealing with a person exhibiting the signs that medical attention might be needed;
   whether the officers use of force was in keeping with established training; and whether the level
   of force used against Tavares Ocher was greater than other reasonable officers would have used
   in the same or similar circumstances in 2014.

                                         General Qualifications

   I am the former Chief of Police for the City of Tallahassee, Florida, having retired in 1994.

   During a twenty-five year law enforcement career, I served as a Chief of Police in four cities, in
   three states and as an Agent with the Federal Bureau of Investigation.


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   I served as an FBI Agent from 1969 to 1971 and during the time period from 1971 to 1994, I
   served as the Chief of Police for Morristown, Tennessee; Hickory, North Carolina; Asheville,
   North Carolina and Tallahassee, Florida.

   I have taught criminal justice courses at colleges and universities across the United States. I
   served as an adjunct faculty member in criminal justice at Western Carolina University located in
   Cullowhee, NC; Florida State University, Florida A&M University and Tallahassee Community
   College located in Tallahassee, FL; Walters State Community College located in Morristown,
   TN; and the University of Maine located in Augusta, ME.

   I held several law enforcement certificates, including the Advanced Certificate from the State of
   North Carolina and Basic Certificates from Tennessee and Florida.

   I received a bachelor’s degree from the University of South Florida, Tampa, Florida and a
   master’s degree with honors from Appalachian State University, Boone, North Carolina.

   I have authored forty-two articles on policing and criminal justice issues that have been
   published in legal, public administration, police trade magazines, and criminal justice
   professional journals.

   I served as a member and Chairman of the North Carolina Criminal Justice Education and
   Training Council for three years and as a member and Vice-Chairman of the Florida Criminal
   Justice Standards and Training Commission for three years. In both capacities, I was part of a
   commission that was responsible for establishing uniform minimum standards for the
   employment and training of all full-time, part-time and auxiliary law enforcement officers and
   correctional officers in the respective states.

               Specific Qualifications to Provide Opinions on the Facts of this Case

   I co-authored a book titled Prevention and Investigation of Officer Involved Deaths, which
   included chapters on policing with respect to emotionally disturbed persons, use of force and the
   phenomenon known as ‘excited delirium.”

   I am familiar with the training protocols, standards, and model policies published by professional
   associations on use of force, dealing with emotionally disturbed persons, and dealing with people
   exhibiting the symptoms of “excited delirium.”

   I have trained thousands of law enforcement on the legal and professional standards regulating
   the use of force and was certified until September 2009 on most use of force disciplines.

   I have qualified as an expert in law enforcement practices and procedures, including police use
   of force, ninety-seven times.

   My current and complete curriculum vita is attached as Appendix A to this Report.


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                                           Objectivity

   Over the past twenty years my trial and deposition testimony has been approximately 70%
   plaintiff and 30% defendants. A current list of my trial and deposition testimony for the past
   four years is attached as Appendix B to this Report.

                                                Fees

   My fee for analysis in this case was $6,000.00. The fee was based upon a $150.00 hourly rate
   and an estimate that it would require approximately forty hours of work to review the materials
   provided and to prepare an Expert Report.

            Items Reviewed and Relied Upon in Development of Preliminary Opinions

   Before developing my preliminary opinions in this case, I reviewed the materials listed in
   Appendix C attached to this report. The materials reviewed are of the type typically relied upon
   by consultants and experts when conducting an analysis of law enforcement issues and provided
   me with enough relevant data to develop my preliminary opinions to a reasonable degree of
   professional certainty.

                    Methodology Utilized in Developing Preliminary Opinions

   The methodology I employed is consistent with my review of the U.S. Supreme Court decisions
   Daubert v. Merrill Pharmaceuticals, Inc., 509 U.S. 579 (1993) and in Kumho Tire Company v.
   Carmichael, 526 U.S. 137, 147 119 S. Ct. 1167 (1999).

   I understand that a non-scientific expert must be qualified to offer expert testimony by
   knowledge, skill, experience, training, or education. I have provided in this report both my
   general and specific qualifications as a basis for my expert testimony in this case.

   I also understand that an expert’s testimony must be relevant to the facts of the case and of
   assistance to the jury in understanding the evidence in the case.

   To insure my methodology was reliable, and my conclusions were based upon reliable
   methodology, I did not assign credibility to any witness; reviewed sufficient data to reach
   conclusions to a reasonable degree of professional certainty; developed a set of material and
   relevant facts only after a review of all materials provided; and assumed those facts to be true
   solely for purposes of analysis. I then analyzed those facts against a backdrop of the professional
   standards, practices, principles and protocols recognized, relied upon, and employed in law
   enforcement on the date of this incident.

   The methodology I have used in this case is the same that I have utilized for several years. The
   methodology has been accepted over ninety times by presiding judges in previous cases in which
   I have testified at trial. The methodology is consistent with the methodology utilized by other
   experts in the field of law enforcement.
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   I possess knowledge regarding the protocols that were recognized in the law enforcement
   profession prior to 2014 on dealing with emotionally unstable persons and with people exhibiting
   the symptoms of “excited delirium.”

   I also am familiar about what officers were taught prior to 2014 in training programs about what
   force is considered reasonable force in a particular set of circumstances.

   These subjects are all matters beyond the knowledge of a typical juror and sufficiently tied to the
   facts of this case to be relevant and of assistance to the jury in understanding the evidence and
   resolving factual disputes.

                                     Summary of Assumed Facts

   The facts in this case that are relevant to my opinions are summarized in Appendix D attached to
   this report.
                                          Preliminary Opinions

   I have classified my opinions as preliminary opinions at this point because I have been advised
   that I will be provided with additional materials to review in this matter, including deputy
   depositions and the internal affairs investigation. I therefore reserve the right to supplement my
   opinions after my review of the additional materials.

   The basis and reasons for my preliminary opinions are premised upon my experience as a law
   enforcement officer; my education and training in law enforcement; my knowledge of law
   enforcement standards; my knowledge of law enforcement training and protocols for dealing
   with emotionally disturbed persons and people exhibiting the symptoms of “excited delirium”
   my knowledge of a phenomenon known in law enforcement as the “physiology of a struggle”;
   and my knowledge of law enforcement training and protocols on use of force; through consulting
   professional literature, and the facts of this case as determined by a comprehensive review of the
   materials listed in Appendix C.

   My preliminary opinions are based upon a synthesis of the above.            I hold the following
   preliminary opinions to a reasonable degree of professional certainty.

                                       Preliminary Opinion #1

   The force used against Tavares Docher on May 11, 2014 by SLCSO Deputies Christopher
   Newman, Clayton Mangrum and Calvin Robinson was excessive and unreasonable and was a
   greater level of force than other officers would have used in 2014 if confronted with the same, or
   similar, circumstances.




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                                      Training on Use of Force

   Since 1989, all law enforcement officers have been instructed in basic law enforcement training
   programs, in the legal training block, that the United States Supreme Court decided in Graham v.
   Connor, 490 U.S. 386, that the test of reasonableness under the Fourth Amendment is not
   capable of precise definition or mechanical application and the determination of reasonableness
   requires careful evaluation of the facts and circumstances of each case including the severity of
   the crime at issue, whether the suspect posed an immediate threat to the safety of the officer or
   another, and whether the suspect was actively resisting arrest or attempting to evade arrest by
   flight.

   The Court, in Graham v. Connor, demonstrated a high level of consideration for law
   enforcement officers and the difficulty involved in decision making in the field when it declared
   “the reasonableness of a particular use of force must be judged from the perspective of a
   reasonable officer on the scene, and the calculus of reasonableness must allow for the fact that
   police officers are often forced to make split-second judgments, in circumstances that are tense,
   uncertain and rapidly evolving, about the amount of force that is necessary in a particular
   situation.”

   All law enforcement officers in Florida were instructed in Basic Law Enforcement Training
   (BLET) prior to 2014 that using the elbow to strike a person in the temple, side of jaw, bridge of
   nose throat or back of head is likely to cause great bodily harm and is classified as deadly force
   (Page 291, FL BRT Curriculum, Volume 2, titled Criminal Justice Defensive Tactics attached as
   Appendix E).

                                           Analysis

   Here, before the deputies used force, the only crime Docher had committed was Disorderly
   Intoxication. In Florida, Disorderly Intoxication (when an intoxicated person causes a public
   disturbance in a public place) is a second degree misdemeanor. Thus, the severity of the crime
   Docher committed was minor. In this case, according to Deputy Newman, Docher did not have
   issues with being placed under arrest for Disorderly Intoxication and he initially complied with
   Newman’s orders, and was handcuffed. However, when the deputies started to put Docher in a
   patrol car, Docher looked at all three deputies and took off. In response, all three deputies
   grabbed Docher and took him to the ground. While on the ground Deputy Mangrum delivered
   palm heel strikes to Docher’s large muscle groups and Deputy Newman delivered elbow strikes
   to the right side of Docher’s head (Page 6, SLCSO Case Supplemental Report #14-05401).

   In this case, the use of elbow strikes delivered to Docher’s head by Deputy Newman was
   contrary to use of force training all Florida law enforcement officers received prior to 2014
   because it was an act of deadly force not justified under the circumstances. In fact, Docher was
   not criminally charged with Aggravated Assault (necessary to justify the use of deadly force) and
   instead was charged with simple assault/battery.



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   In my opinion, a reasonable officer, under similar circumstances, would not have perceived
   Docher as an immediate threat of serious bodily harm or death at any time after the officers
   handcuffed him.

   In my opinion, striking Docher in the head with an elbow strike two times when he was
   handcuffed and while there were at least three deputies available to control Docher was a greater
   level of force than other officers would have used under the same, or similar, circumstances.

   In addition, citizen witness Merine Kanhai, stated she saw 3-4 deputies restraining an African
   American male and saw a deputy elbow the male in the face. The male was saying “Don’t let
   them kill me” and the deputies were saying “stop resisting arrest.” In her opinion the deputies
   were using excessive force (Page 21, SLCSO Case Supplemental Report #14-05401).

   Ariana Kanhai, another citizen witness, stated she saw deputies holding a man on the ground.
   He wasn’t moving much. The deputies kept hitting the man after he was handcuffed. The deputy
   by the man’s head kept hitting him with his elbows (Page 21, SLCSO Case Supplemental Report
   #14-05401).

   According to witness Zackery Taylor, the deputies were hitting the man with their elbows
   (Page 21, SLCSO Case Supplemental Report #14-05401).

   Finally, it would have been obvious to any reasonable officer on May 11, 2014, when
   considering the totality of the circumstances presented to Deputies Newman, Mangrum and
   Robinson, that Docher was having a medical emergency and needed immediate medical
   attention. Instead, Newman, Mangrum and Robinson used excessive force on an unarmed and
   handcuffed man in violation of training and standards.

                                      Preliminary Opinion # 2

   Deputies Newman, Mangrum and Robinson knowingly violated clearly established law
   enforcement training on how to handle a person exhibiting the symptoms of “excited delirium”
   when they failed to treat the incident with Tavares Docher as a medical emergency and instead
   treated the incident as a control and arrest situation.

                                        Excited Delirium

   Excited delirium is a controversial term used to explain sudden deaths, or serious medical
   ramifications, after restraint of individuals involved in a struggle with the police.

   There has been no formal recognition of the phenomenon by the medical community and it is not
   recognized in the Diagnostic and Statistical Manual of Mental Disorders.

   Even though the American Medical Association does not recognize this diagnosis as a medical or
   psychiatric condition, both the medical and law enforcement communities agree that excited
   delirium is a medical emergency no matter what the cause.

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   All law enforcement officers in Florida were instructed in Basic Law Enforcement Training
   (BLET) prior to 2014 about the symptoms of excited delirium (agitation, aggression,
   hyperactivity, super strength, sweaty) and that when confronting a subject with these symptoms
   they should immediately seek medical attention because the subject could die suddenly (FRL
   BRT Curriculum: Volume 2, Criminal Justice Defensive Tactics, Pages 210 and 211 attached as
   Appendix F).

   The International Association of Chiefs of Police (IACP), National Law Enforcement Policy
   Center, published a Model Policy titled Excited Delirium in January 2014 which was designed to
   provide guidance and direction to officers in the handling of individuals who are exhibiting the
   signs of excited delirium.

   The IACP identified the symptoms as agitation, hyperthermia, profuse sweating, paranoid
   behavior, constant physical activity, exceptional strength, and unusual calmness after restraint.

   According to the IACP officers confronting a subject exhibiting symptoms of excited delirium
   should have medical personnel on scene before initiating subject control and when subject is
   restrained they should avoid putting pressure on the subjects chest, neck, or head and should not
   attempt control by pinning the subject to the ground by using their body weight (IACP Model
   Policy titled Excited Delirium attached as Appendix G).

                                                Analysis

   Just as law enforcement officers had to be trained in years past to distinguish between a
   combative drunk and a person in a diabetic crises, to make the decision as to which needs to go
   to jail and which needs to go to the hospital, the law enforcement community has long believed
   that the key to avoiding deaths, or serious medical ramifications, from excited delirium is to train
   law enforcement officers on the recognition of the symptoms of excited delirium so that early
   action can be taken.

   Although law enforcement officers are not expected to be medical experts, they have been told in
   recent years to be alert for the symptoms of excited delirium syndrome such as hallucinations,
   extreme agitation, screaming, property damage, profuse sweating, cocaine use, glass breakage
   and bizarre behavior.1

   The Force Science Research Center (FSRC) published training tips for handling excited delirium
   incidents in 2005 that identified the same symptoms and concluded that police officers needed to
   treat excited delirium as a medical emergency.2

   According to the International Association of Chiefs of Police (IACP), incidents of excited
   delirium should be treated as a medical emergency rather than a criminal incident
   notwithstanding any criminal violations that may be involved. 3




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   According to Deputy Newman, Docher told him he had a few drinks, and Arabs were trying to
   kill his mother and him because they knew where the Arabs dropped the headless body in St.
   Lucie County.

   In this incident, according to witness Leaha Boles, Docher was “delusional and paranoial” and
   “very sweaty” and not acting normal (Page 21, SLCSO Case Supplemental Report #14-05401).

   According to witness Samantha Gilewski, Docher “was pacing, nervous and delirious.” “He was
   talking murders, ransom and rewards.” (Page 21, SLCSO Case Supplemental Report #14-
   05401).

   All of these are symptoms should have been characterized by Deputies Newman, Robinson and
   Mangrum as excited delirium and should have alerted them that they were dealing with a
   medical emergency.

                                       Preliminary Opinion # 3

   Deputies Newman, Mangrum and Robinson knowingly violated clearly established law
   enforcement training on avoiding the basic physiology of a struggle because of the risk to a
   subject of death or serious medical ramifications.

                                    Basic Physiology of a Struggle

   The U.S. Department of Justice, National Law Enforcement Technology Center, a National
   Institute of Justice Program, published a bulletin in June 1995 which described for law
   enforcement officers what is called the Basic Physiology of a Struggle.

   Simply stated, a person lying on their stomach has trouble breathing when pressure is applied to
   the back. As their breathing becomes labored, they try to get up. Officers, not understanding and
   aware of the physiology of a struggle, interpret the subjects actions as resistance to their control
   and apply more weight and restraint which results in the subject having increased difficulty in
   breathing which is a natural reaction to oxygen deficiency – and the subject struggles more
   violently. The officers then apply more compression and restraint to subdue the subject until
   death or serious medical ramifications for the subject occurs (U.S. DOJ Bulletin attached as
   Appendix H).
                                                Analysis

   In this incident, when Docher ran from the deputies he was already handcuffed. According to
   the SLCSO Reporting Officer Narrative, all three deputies (Newman, Mangrum and Robinson)
   were on Docher’s back and he was taken to the ground. Docher was able to slide the handcuff
   on his right arm up to his elbow and was attempting to push himself off the ground lifting all
   three deputies. Robinson then applied a “leg ride” to gain control and Deputy Alonge arrived on
   the scene and assisted the other three deputies in keeping Docher on the ground (page 6 of
   SLCSO Reporting Officer Narrative in Case # 14-05401).


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   According to Paramedic Jose Rosario, when he arrived on the scene he observed several deputies
   on top of a subject who was still struggling with them (page 13, SLCSO Case Supplemental
   Report in case # 14-05401).

   According to Paramedic Thomas Sinclair, when he arrived on the scene he observed several
   deputies on top of a subject who was on the ground with a pool of blood around his head (page
   14, SLCSO Case Supplemental Report, Case # 14-05401).

                                           Preliminary Opinion # 4

   Deputies Robinson and Mangrum failed in their responsibility to intervene to stop a fellow
   deputy from committing a clear violation of training and standards when the saw Deputy
   Newman deliver two separate elbow strikes to the head of Tavares Docher when they knew, or
   should have known, that deadly force was not justified under the circumstances they were
   confronted with.
                                             Analyses

   All law enforcement officers in Florida were instructed in Basic Law Enforcement Training
   (BLET) prior to 2014 that using the elbow to strike a person in the temple, side of jaw, bridge of
   nose throat or back of head is likely to cause great bodily harm and is classified as deadly force
   (Page 291, FL BRT Curriculum, Volume 2, titled Criminal Justice Defensive Tactics attached as
   Appendix E).

   The use of elbow strikes delivered to Docher’s head by Deputy Newman was contrary to use of
   force training all Florida law enforcement officers received prior to 2014 because it was an act of
   deadly force not justified under the circumstances. In fact, Docher was not criminally charged
   with Aggravated Assault (necessary to justify the use of deadly force) and instead was charged
   with simple assault/battery.

   Deputies Robinson and Mangrum should have known that striking Docher in the head with an
   elbow strike while he was handcuffed and while there were at least three deputies available to
   control Docher was excessive force and they should have intervened to stop Newman before he
   was able to deliver a second elbow strike to Docher’s head.

   Respectfully Submitted,


   Melvin L. Tucker
   May 16, 2017


   1
     Wecht, Lee, Van Blaricom & Tucker, Investigation and Prevention of Officer – Involved Deaths, Chapter 4, CRC
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   2
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   3
     IACP National Law Enforcement Policy Center, Concepts and Issues Paper, Excited Delirium, April 2014

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                                         Appendix A

                                 MELVIN L. TUCKER
                       Criminal Justice and Security Consultant/Trainer
                                     5929 Fordland Drive
                                Raleigh, North Carolina 27606

                                      mtucker50@nc.rr.com
                                         919 249-6592


                            CURRICULUM VITAE
      EMPLOYMENT

      • Litigation Consultant and Law Enforcement/Security Trainer 1994 — Present

      ELECTED OFFICE EXPERIENCE

      • Councilmember, City of Morristown, Tennessee 2005 - 2008

      CRIMINAL JUSTICE EXPERIENCE

     •   Project Manager, Maine Community Policing Institute, Augusta, ME,2000-2004
     •   Chief of Police, Tallahassee, FL, 1979 - 1994
     •   Chief of Police, Asheville, NC, 1977 - 1979
     •   Chief of Police, Hickory, NC, 1974 - 1977
     •   Chief of Police and Public Safety Director, Morristown, TN, 1971 - 1974
     •   Special Agent, Federal Bureau of Investigation, 1969 — 1971

      MILITARY EXPERIENCE

     • United States Navy Reserve, Active Duty 1965-1969, Ensign to Lieutenant
     • United States Navy Reserve, Reserve Duty 1969-1988. Lieutenant to Commander

      EDUCATION

     • MPA - Public Administration, Appalachian State University; Boone, NC, 1977
     • BA - Business Management, University of South Florida; Tampa, FL, 1965

      ACADEMIC APPOINTMENTS

     • The University of Maine at Augusta; Augusta, ME; Adjunct, Criminal Justice, 2000-
       2004
     • Florida A&M University; Tallahassee, FL; Adjunct, Criminal Justice, 1981-1994
     • Florida State University; Tallahassee; FL; Adjunct, Criminal Justice, 1984


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      • Tallahassee Community College; Tallahassee, FL; Adjunct, Criminal Justice, 1983-
        1984
      • Western Carolina University; Cullowhee, NC; Adjunct, Criminal Justice, 1978-1979
      • Walters State Community College; Morristown, TN; Adjunct, Criminal Justice, 1972-
        1974

       PUBLICATIONS

      Books
      • Wecht, Cyril; Lee, Henry; Van Blaricom, D.P.; and Tucker, Melvin; Investigation
         and Prevention ofOfficer-Involved Deaths, CRC Press, 2011

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      • Tucker, M., Fostering Inefficiency Through LEAA Grants, Western Piedmont
        Government News, 12-75
      • Tucker, M., The New Breed ofPolice Officer, The North Carolina Justice Academy
        Reporter, 12-75

       PROFESSIONAL AFFILIATIONS

      •    International Law Enforcement Educators and Trainers Association(ILEETA)
      •    National Tactical Officers Association(NTOA)
      •    American Society of Law Enforcement Trainers(ASLET)
      •    American Society for Industrial Security (ASIS)
      •   Police Executive Research Forum (PERF)
      •   International Association of Chiefs of Police (IACP)
      •    Maine Chiefs of Police Association(MCPA)
      •   Florida Department of Business Regulation, Hotels and Restaurants Security Task
          Force
      •   Florida Juvenile Justice Center; Commissioner
      •   Florida Police Chiefs' Association Ethics Committee
      •   State of Florida Technical Committee for Public Service Education
      •   Florida District 2, State Emergency Response Commission
      •   Advisory Board, Florida Criminal Justice Information System (CJIS)
      •   Advisory Board, Florida Interagency Narcotics Information Network (FININ)
      •   Florida Criminal Justice Standards and Training Commission; Vice-Chairman
      •   Florida Governor's Task Force on Law Enforcement
      •   Florida Police Chiefs Association(FPCA)
      •   North Carolina Governor's Crime Prevention Commission
      •   North Carolina Association of Chiefs of Police; Vice-President
      •   North Carolina Criminal Justice Education and Training Council; Chairman
      •   North Carolina Association of Chiefs ofPolice; Secretary-Treasurer
      •   North Carolina Governor's Law and Order Commission
      •   Technical Advisory Committee, University of North Carolina, Charlotte

      CERTIFICATIONS

     •  S&W 9MM Semi-Automatic
     •  Monadnock PR-24 Baton Basic
     •  Monadnock Expandable Baton Advanced
     •  Advanced M-26 and X-26 Taser
     •  Oleoresin Capsicum(0C)
     •  Police Defensive Tactics
     •  Law Enforcement Trainer(CLET), American Society for Law Enforcement Trainers
       (ASLET)
     • Law Enforcement Ethics Instructor, National Institute of Ethics(NIE)




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      • Certified Protection Professional (CPP), American Society for Industrial Security
        1998-2001
      • Law Enforcement Certificate, State of Florida 1979-1994
      • Advanced Law Enforcement Certificate, State of North Carolina 1974-1979
      • Jail Operations Certificate, State of North Carolina 1974-1977
      • Law Enforcement Certificate, State of Tennessee 1971-1974

       AWARDS AND RECOGNITIONS

      • First Place Award; Use ofForce Academic Test, 14th Annual Seminar, American
        Society for Law Enforcement Training(ASLET); Orlando, FL, 2-01
      • Outstanding Public Administrator, North Florida Chapter ofthe American Society
        OfPublic Administration(ASPA),4-93
      • Writing Excellence Award for article, That Looming Reporter: Coping With a
        Cantankerous Press, Charles G. Wellborn Foundation, 10-92
      • Service Award, Glenn Terrell Foundation, Tallahassee, FL, 5-90
      • President's Service Award, United Way, Tallahassee, FL, 5-83
      • Freedom Award, NAACP,Tallahassee, FL, 5-81
      • Service Award, North Carolina Attorney General's Office, 12-79
      • Appreciation Award, U.S. Secret Service, Tallahassee, FL,9-79
      • Tennessee Law Enforcement Officer ofthe Year, TN 1972

      LAW ENFORCEMENT AND SECURITY TRAINING AND CONSULTING

      Since 1994, Chief Tucker has been training law enforcement officers in personnel issues,
      high-risk operations, conducting security surveys for businesses and government
      agencies, conducting agency evaluations, providing criminal justice and security
      consulting services and providing litigation support as an expert in police and security
      matters for both defense and plaintiffs.

      LITIGATION SUPPORT SERVICES

      Chief Tucker has been retained in approximately 530 law enforcement and security cases.
      He has testified as an expert approximately 97 times in the following areas:

     •   Negligent hiring, retention, assignment, training, and supervision
     •   Use of less than lethal and lethal force
     •   Emergency vehicle operations
     •   Premises liability/Security Guard negligence
     •   Reasonable accommodation
     •   Free speech
     •   Probable cause/ reasonable suspicion
     •   Police personnel practices, officer conduct
     •   Race and sex discrimination
     •   Proper police procedures, criminal investigations


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       He has provided litigation services in:

      Alabama                Alaska                    Arizona            Arkansas
      California             Canada                    Colorado           Connecticut
      District of Columbia   Florida                   Georgia            Illinois
      Kentucky               Louisiana                 Maine              Maryland
      Massachusetts          Michigan                  Mississippi        Missouri
      Montana                Nebraska                  New Hampshire      New Jersey
      New Mexico             New York                  Nevada             North Carolina
      Oklahoma               Ohio                      Pennsylvania       Puerto Rico
      South Carolina         Tennessee                 Texas              Virginia
      Washington             West Virginia

      CRIMINAL JUSTICE TRAINING SERVICES

      Chief Tucker conducts training seminars for officers, supervisors and managers of
      federal, state, county and municipal law enforcement agencies in the following areas:

     •   High-speed pursuit and emergency response
     •   Use offorce
     •   Personnel practices
     •   Writing reports to reduce civil liability risk
     •   Legal and professional standards regulating police high-risk operations
     •   Auditing operations to reduce civil liability risk
     •   Civil liability awareness
     •   Standards for discipline

      He has provided criminal justice training for the following organizations:

     • The Henry C. Lee Institute of Forensic Science, University of New Haven, The Crises
       Between the Police and People ofColor;
     • American Bar Association(ABA)Conference in Tampa, FL on Resolving The Crises
     • Duke Law Center on Law, Race and Politics, Police Use ofForce
     • North Carolina Conference of District Attorneys, Conducting Investigations and
       Evaluations ofLaw Enforcement Officers Use ofDeadly Force, Raleigh, NC
     • North Carolina Chapter ofthe Southern Police Institute Alumni Association, Career
       Survival, Conover, NC
     • North Carolina Criminal Defense Lawyers Association, Continuing Legal Education
       Seminar, Cary, NC, The Use ofLaw Enforcement Expert Testimony in Criminal
       Cases
     • Performance Institute, Arlington, Virginia, National Summit on Use of Force in Law
       Enforcement, The Legal Standards of Use ofForce



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      • Jefferson County, TN Sheriff's Department, Use ofForce: Legal, Professional and
         Ethical Standards
      • Hancock County, TN Sheriff's Department, Use ofForce: Legal, Professional and
         Ethical Standards
      • Hamblen County, TN Sheriff's Department, Use ofForce: Legal, Professional and
         Ethical Standards
      • Utah/Nevada FBI National Academy Graduates Association, Use ofForce, Standards
         & Threat Assessment
      • Morristown, TN Police Department, Use ofForce: Legal and Professional Standards
      • DOJ/COPS,Lewiston, Maine, Use ofForce and Investigation ofCitizen Complaints
      • Houlton, Maine Police Department, Use ofForce: Legal, Professional and Ethical
          Standards
      • Police Executive Leadership Seminar, Lewiston, Maine, The Police Departments
         Role in Homeland Security
      • Director's Conference, Regional Community Policing Institutes, Washington, D.C.,
         Surviving Federal Audits ofGrants
     • The 13th Annual NASRO Conference, Orlando, FL, Avoiding Liability While Serving
         As A School Resource Officer
     • The 2nd Annual Community Policing Conference, Washington, D.C., Ethics and
        Integrity: The Selection Process
     • Augusta Police Department, Augusta, ME,Emergency Vehicle Operations
     • Mid-Coast Police Chiefs Association, Brunswick, ME,Ethics in Law Enforcement
     • National Troopers Coalition, Portland, ME,Free Speech, Due Process, and Use of
        Force Investigations
     • Maine Department of Corrections, Charleston, ME,Ethics and Integrity in a
        Corrections Setting
     • Tallahassee Police Department, Tallahassee, FL, Writing Reports, Auditing, Training,
        and Understanding Concepts to Avoid Administrative and Civil Culpability
     • Pat Thomas Law Enforcement Academy, Quincy, FL; Legal and Professional
        Standards Regulating Police Use ofForce, Pursuit and Emergency Response
     • Bangor Theological Seminary, Bangor, ME; Counseling Victims in Police Use of
        Force Cases
     • Maine Criminal Justice Academy, Vassalboro, ME;Domestic Violence and Crimes
        Against the Elderly
     • Maine Mid-Coast Chief's Association, Wiscasset, ME;High Risk Police Operations
     • Maine Mid-Coast Chief's Association, Rockland, ME;High Risk Police Operations
     • Maine Criminal Justice Academy, Waterville, ME; Civil Liability Awareness
     • Labor Relations Information System Seminar, Kissimmee, FL; Standards For
       Discipline
     • National Expert Witness and Litigation Seminar, Hyannis, MA;Police Use ofForce
     • Labor Relations Information System, Orlando, FL;Procedural Due Process and Just
        Cause
     • Maine EMS,Islesboro, ME;Emergency Vehicle Operations
     • Public Employment Labor Relations Forum, Tampa, FL; Constitutional Rights of
       Public Employees


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      • Florida Department of Law Enforcement, Tallahassee, FL;Investigating Use ofForce
      • Center for Advanced Law Enforcement Studies, Tampa,FL; Excessive and Deadly
         Force: Law, Policy and Investigation
      • Florida Criminal Justice Executive Institute, Ft. Lauderdale, FL;Personnel Issues
      • MCPI Leadership 2000 Seminar, Northport, ME;Auditing Operations to Reduce
         Civil Liability Risk
      • Gulf Coast Community College, Panama City, FL;Personnel Issues in Managing a
         Florida Law Enforcement Agency
      • Florida Police Chiefs and Florida Criminal Justice Executive Institute Annual
         Seminar, Tallahassee, FL; Civil Liability, Manpower Allocation and other
        Personnel Considerations
      • Florida Criminal Justice Executive Institute: Fort Pierce, FL; Police Personnel Use,
        Discipline Process, and Public Official Liability
      • New River Criminal Justice Academy, Radford, VA;Policy Issues Relating to
        Substance Abuse Within Criminal Justice Agencies
     • Florida Criminal Justice Executive Institute, Tallahassee, FL; Police Personnel
        Management
     • Lively Criminal Justice Training Academy, Advanced Instructor Training Series:
        Quincy, FL;Police Vehicle Operations, Use ofForce, and Vicarious Liability
        Concerns for Instructors
     • Annual Florida Police Chiefs' Seminar: Tallahassee, FL; Police Patrol, Use of
        Force, Police Vehicle Operations, and Police Tactical Operations
     • Iceland Police Department; Reykjavik, Iceland, Drug investigations, interdiction, and
        prevention strategies
     • Florida Criminal Justice Executive Institute, St. Petersburg Junior College,
        St. Petersburg, FL; Personnel Issues and High Risk Management
     • Maine Police Chiefs' Association, Houlton, ME;Police High Risk Operations
        and Vicarious Liability
     • Portland Police Department, Portland, ME;Police High Risk Operations
     • Florida Marine Patrol, Tallahassee, FL;Police High Risk Operations
     • Bay County Community College, Panama City, FL; Police Raids, Stakeouts,
        Use ofForce, Vehicle Operations
     • Escambia County Sheriffs Department, Pensacola, FL; Police High Risk Operations
     • Broward Community College, Melbourne, FL;Police Raids, Stakeouts, Use ofForce,
        Vehicle Operations, Hostage Situations
     • O'Connell Corporation, Washington, D.C.; Criminal Interrogation Techniques
     • Office ofthe State Attorney, 6th Judicial Circuit, Key West Florida, Consultant on
       Police Code ofSilence
     • Hillsborough County Sheriff's Department; Tampa, FL; Police Civil Liability
       Awareness/High Risk Operations

     CRIMINAL JUSTICE CONSULTING

     Chief Tucker has provided criminal justice consultant services for the following
     organizations:


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      • CNN Kate and John appearance on Walter Scott Shooting, North Charleston, SC
      • CNN Wolf Blitzer appearance on Walter Scott Shooting, North Charleston, SC
      • The Associated Press, Deadly Force Issues since Michael Brown incident Ferguson,
         MO
     • CBS (Sixty-Minutes)Police Shootings ofunarmed African American males
      • The Associated Press, News Consultant, Deadly Force Incidents Memphis Police
     • The Sarasota Herald-Tribune, News Consultant, Off-Duty Officer Involved Shooting
     • The Palm Beach Post, News Consultant, Policy Guidance, Training, Use ofLess
         Than Lethal Weapons: Tasers
     • The Boston Globe, The Associated Press, The New York Times, The Washington
        Post, News Consultant, Death ofCollege Student by Pepper Ball Weaponfollowing
        Red Sox Game
     • Camden and Rockport, Maine; Efficiency/Manpower Utilization Studies ofPolice
        Departments
     • Louisville Courier-Journal; News Consultant, Evaluation ofSix Officer-Involved
        Shootings
     • The Florida Department of Lottery; Review ofFirearms Training and Deadly Force
        Policy
     • Jackson, MS;Police ChiefSelection Consultant
     • CBS program Eye to Eye With Connie Chung; News consultant, Violence in America
     • CNN program Across America With Larry Woods; News consultant, Drug Abuse
        Resistance Education
     • Cape Coral, FL; Police ChiefSelection Consultant
     • Cairo, GA;Police ChiefSelection Consultant
     • Cocoa Beach, FL Police Department; Management Evaluation
     • Fort Walton Beach, FL; Police ChiefSelection Consultant
     • Orange City Police Department; Orange City, FL; Management Evaluation
     • Edgewater, FL Police Department; Management Evaluation
     • Bowling Green, KY;Police ChiefSelection Consultant
     • Hendersonville, NC;Police ChiefSelection Consultant
     • Texas League of Municipalities, Houston, TX;Police Officer Bill OfRights
        Consultant
     • U.S. Department of Justice, Nashua, NH Race Relations and Racial Profiling
     • The Eighth Annual National Expert Witness and Litigation Seminar, Hyannis, MA
       Police Use ofForce: Myths and Realities
     • Labor Relations Information Personnel Issues Seminar, Orlando, FL; Procedural
        Due Process and the Right to Be Heard
     • Labor Relations Information Systems Personnel Issues Seminar, Orlando, FL; The
       Investigation ofPolice Officers and the Fifth Amendment
     • Labor Relations Information Systems Personnel Issues Seminar, Orlando, FL;
       Procedural Due Process and the Determination ofJust Cause
     • The American Criminal Justice Association, Pittsburgh, PA; Police Discipline: An
       Innovative Process for Intra-Agency Corrective Response



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      SECURITY TRAINING AND CONSULTING

       During his law enforcement career Chief Tucker supervised crime prevention units in
      four police departments that provided security surveys of homes, businesses, and
       government buildings. He routinely reviewed construction plans for new businesses for
      compliance with the principles of crime prevention through environmental design (see
       Crime Prevention Through Environmental: Design (OPTED): The Tallahassee Model,
      The Police Chief, 10-93). He trained hotel, motel, and restaurant/lounge managers and
      apartment complex managers on crime prevention techniques, conducting security
      surveys, and calculating the risk of crime on their property. He served on the Florida
      Hotel, Motel, and Restaurants Security Task Force providing crime prevention techniques
      for the Task Force bulletin. He taught crime prevention strategies, concepts, and
      techniques at the university level as an adjunct faculty member. He also served on the
      North Carolina Governor's Crime Prevention Commission. In December 2002 he
      received training in Tel-Aviv, Israel from the Israeli Security Agency (ISA) on
      airport/airline security, threat assessment, doctrine development, and training
      requirements. A member of the American Society for Industrial Security (ASIS) and a
      former Certified Protection Professional (CPP), he has provided security consulting
      services and security training for the following organizations:

     • Walters State Community College, Morristown, TN, Campus Security Awareness
     • Consortium of Security Professionals, Chicago O'Hare Airport, Security in a Mass-
        Transportation Environment/Role ofState and Local Police in Homeland Security
     • Maine Post-Secondary Educational Institutions Security Directors Conference,
        Augusta, ME,Campus Security
     • University of Maine Center Directors Conference, Augusta, ME, Premises Liability
        Concepts, Risks Ident cation, Security Protocols
     • State of Maine Campus Security Summit, Colby College, Waterville, ME,Campus
       Security Risks Assessments, Programs and Audits
     • Gardiner, ME Boys and Girls Club, Security Evaluation
     • Seeds ofPeace Center, Otisfield, ME,Security Evaluation in preparationfor
       Israeli/Palestinian youth conference
     • Florida Department of Management Services, Division of Facilities Management,
       Tallahassee, FL,Security, Safety & Premises Liability
     • Latitude 44/Longitude 69 Restaurant, Islesboro, Maine, Security Survey ofFacility
     • The Florida Department of Revenue; Tallahassee, FL,Security Survey ofFacilities,
       Miami, Tampa, and Clearwater offices
     • Academy of Florida Trial Lawyers, Premises Liability Seminar, Tampa, FL; The Role
       ofLaw Enforcement in Crime Prevention on Private Property
     • National Crime Prevention Institute, Reykjavik, Iceland; Crime Prevention in the
       Future
     • Brett and DeHaven, Tallahassee, FL; Security Survey ofThe Highpoint Center Office
       Complex
     • Florida Hotel & Motel Association, Tallahassee, FL; Avoiding Liability in Premises
       Security



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                                       Melvin L. Tucker
                                   Deposition/Trial Testimony


            Chastity Davidson v. City of Statesville et al
            United States District Court for Western District of North Carolina
            Statesville Division
            C.A. No. 5:10-CV-182
            Deposition/Plaintiff

      2.    Dalton Haley v. Washington, Green and Fulton County
            United States District Court
            Northern District of Georgia
            Atlanta Division
            C.A. No. 1:11-CV-1883-TCB
            Deposition/Plaintiff

      3.    Jack Sayegh v. William Paterson University, et al
            Superior Court of New Jersey
            Law Division — Passaic County
            Docket No. PAS-L-1304-10
            Deposition/Plaintiff

      4.   Joseph McAdam v. Officer Warmuskerken, Deputy Wilson, Deputy Davila, City
           of Ludington and County of Mason
           United States District Court
           Western District of Michigan
           Southern Division
           Case No. 1:11 — cv — 00170
           Deposition/Plaintiff

     5.    Joanne Lose vs. Renters Paradise Realty, Inc, NJZ Enterprises, Inc
           In the Circuit Court of the 11 th Judicial Circuit
           Miami-Dade County, Florida
           Case No: 10-21450 CA 06
           Deposition/Plaintiff

     6.    Martin Robinson v. Lt. Jerome Barrow, et al
           United States District Court
           Northern District of Ohio
           Eastern Division
           Case No: 1:11-CV-1609
           Deposition/Plaintiff




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       7.     Dwayne Allen Dail v. City of Goldsboro. et al.
              United States District Court
              Eastern District of North Carolina
              Western Division
              Case No.; 5:10 CV 451-BHO
              Deposition/Plaintiff

       8.     Estate of Jeffrey Scot Heinze v. City of Mesa. et al.
              United States District Court
              District of Arizona
              Case No. CVV 10-02385-PHX-SRB
              Deposition/Plaintiff

      9.      Christopher Zamora v. City of Houston
              United States District Court
              Southern District of Texas
              Houston Division
              Civil Action No. 4:07-4510
              Trial/Plaintiff

      10.    Matthew Olson v. Kenneth Dier. Elizabeth Morgan, Scott Goss, Robert Atkins,
             Scott Barnes and Craig Buth
             Middle District of Florida
             Orlando Division
             Case No.; 6:10-CV-01771-JA-DAB
             Deposition/Plaintiff

      1 1.   Gerald Allmond v. North Carolina State Highway Patrol
             North Carolina Industrial Commission
             Raleigh, NC
             I.C. Docket No. TA-22537
             Deposition/Plaintiff

      12.    Robert Putnam, Debra Putnam v. Sam's Club Puerto Rico
             USDC
             District of Puerto Rico
             C.A. No: 11-1325(SEC)
             Deposition/Defense

      13.    Winston Gaillard v. City of Mobile, et al
             USDC
             Southern District of Alabama
             Civil Action No. CV-112-228-WS-N
             Deposition/Plaintiff




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       14.    Anelle Wharton (Ellis) v. Officer Brett Lampris-Tremba, et al.
              Second Judicial District Court
              County of Bernalillo
              State of New Mexico
              Civil Action. No: CV-2010-06590
              Deposition/Trial/Plaintiff

      15.     Jesus Ornelas vs. C. R. Lovewell
              USDC
              District of Kansas
              Civil Action No. 11-2261-JAR-KMH
              Deposition/Plaintiff

      16.    Donald Spadaro vs. City of Miramar and Broward County Sheriff's Office
             United States District Court
             Southern District of Florida
             CA 11-61607-CIV-COHN/Seltzer
             Deposition/Plaintiff

      17.    Veronica Lewis, Lance Lewis v. Bradenton Beach Police Department et al
             United States District Court
             Middle District of Florida
             Tampa Division
             CA No. 8:11-CV-18-T-39AEP
             Trial/Defense

      18.    Breedlove vs Demings Orange County So et al
             United States District Court
             Middle District of Florida
             Orlando Division
             CA No. 6:11 CV 2027 — ORL — 31 KRS
             Deposition/Plaintiff

      19.    Streater v. City of Charlotte, et al
             United States District Court
             Western District of North Carolina
             Charlotte Division
             C.A. No. 3:11 CV 548
             Trial Plaintiff

     20.     Rolen v. City of Cleveland, et al
             United States District Court
             Northern District of Ohio
             Eastern Division
             CA No. 1:12 CV 1914
             Deposition/Plaintiff




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      21.   Anthony Caravella v. City of Miramar, et al
            United States District Court
            Southern District of Florida
            Case No. 11-61607-CIV-COHN/Seltzer
            Trial/Plaintiff

      22.   Leonora Macharia v City of Revere, et al.
            United States District Court
            District of Massachusetts
            Case No. 1:09-CV-10391
            Trial/Plaintiff

      23.   Alan Loehle v. Georgia DPS and City of Atlanta
            State Court of Fulton County
            State of Georgia
            Civil Action No. 10EV011568E
            Deposition/Plaintiff

      24.   Hollis v. City of Key West, FL
            United States District Court
            Southern District Of Florida
            Key West Division
            Civil Action 12-10013-CIV
            Trial/Plaintiff

      25.   Beatriz Torres v. City of Greenville, et al
            United States District Court
            District of South Carolina
            CA No. 6:12-1767-JMC
            Deposition/Plaintiff

      26.   Peter Paske v. Joel Fitzgerald, et al
            United States District Court
            Southern District of Texas
            Houston Division
            CA No: H-12-2915
            Deposition/Plaintiff

      27.   Adam Wade Carter v. Wake County Sheriff, et al
            United States District Court
            Eastern District of North Carolina
            Western Division
            CA 5:12-cv-00701-H
            Deposition/ Plaintiff




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      28.   Tenisha Felio v. Christopher Hyatt, Karl Hydrick and City of Lawrenceville, GA.
            United States District Court
            Northern District of Georgia
            Atlanta Division
            CA 1:12-cv-04186-0DE
            Deposition/Plaintiff

      29.   Suzanne Wick v. Phillip Redmond and Ben Jenkins
            United States District Court
            Western District of North Carolina
            Statesville Division
            CA No: 5:12-cv-00052-RLV-DSC
            Deposition/Plaintiff

      30.   Darwin Johnson v City of Fayetteville
            United States District Court
            Eastern District of North Carolina
            Western Division
            CA No: 5:12-cv-00456-F
            Deposition/Plaintiff

      31.   Gladys Freeman v John Turner and Scotland Neck PD
            United States District Court
            Eastern District of North Carolina
            Western Division
            CA No: 4:13-cv-129-F
            Deposition/Plaintiff

      32.   Charles Shelley v. Oddie Tribble
            United States District Court
            District of South Carolina
            Columbia Division
            CA No. 3:11-3477-CMC
            Trial/Plaintiff

      33.   Ronald Armstrong v. Village of Pinehurst, et al.
            United States District Court
            Middle District of North Carolina
            CA No: 13 CVS 00455
            Deposition/Plaintiff




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       34.   Anthony Boschele v. David Rainwater and Chesterfield County SO
             United Sates District Court
             District of South Carolina
             Florence Division
             CA No: 2013-CP-13-000185
             Deposition/Plaintiff

      35.    Heather Minick, et al v. Metro Government of Nashville Davidson County ,et al
             United States District Court
             Middle District of Tennessee
             Nashville Division
             CA No: 3:12-cv-00524
             Deposition/Plaintiff

      36.    Abel Martinez vs. City ofPembroke Pines, et al
             United States District Court
             Southern District of Florida
             CA No: 0:14 cv-61303
             Deposition/ Defense

      37.    Rodney Mitchell v Sarasota County Sheriff's Office et al
             United States District Court
             Middle District of Florida
             Tampa Division
             CA No: 8:14-cv-01376
             Deposition/Plaintiff

      38.    Tanner Gates vs Officers Leonbruno and Gerardi, Willoughby Hills PD
             Court of Common Pleas
             Cuyahoga County, Ohio
             CV 14 824344
             Deposition/Plaintiff

      39.    Madel Rivero v Sheriff Steve Loftis, Greenville County SO
             Court of Common Pleas
             County of Greenville
             State of South Carolina
             Case # 2013-CP-23-06522
             Deposition/Plaintiff/Trial




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       40.    Monte Stanford v Union County Sheriff's Department
              Court of Common Pleas
              County of Union
              State of South Carolina
              Case No.:2013-CP-44-00227
              Deposition/Plaintiff

       41.    Shauna Smith v. Pt. Roger Jones
              United Sates District Court
              Northern District of Ohio
              Case No. 1:13-CV-744
              Trial/Plaintiff

      42.     Vicki McKenney v. Nicholas Mangino, Cumberland County SO
              United States District Court
              District of Maine
              CA No.: 2:15-cv-00073-JDL
              Deposition/Plaintiff

      43.    Arlean Brown vs. Brian Elliott, Jim Matthews,& Kershaw County SO
             United States District Court
             District of South Carolina
             Columbia Division
             CA.: 3:14-cv-01188-JFA-PJG
             Deposition/Plaintiff

      44.    Williston Drayton vs. County of Charleston, et al.
             United States District Court
             District of South Carolina
             Charleston Division
             CA No.: 2:14-CV-3488-RMG-BM
             Deposition/Plaintiff

      45.    June Morris v. City of East Orange, et al
             Superior Court of New Jersey
             Essex County
             Docket # ESX-L-3896-13
             Deposition/Plaintiff

      46.    Dontrell Stephens v. Ric Bradshaw and PBCSO
             United States District Court
             Southern District of Florida
             CA No.: 9:14-cv-80425
             Trial/Plaintiff




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      47.   William Sadulsky v. Town of Winslow, et al
            United States District Court
            District of Maine
            CA No: 1:14-CV-01-GZS
            Trial/Plaintiff

      48.   Corey Khansari v. City of Houston, et al
            United States District Court
            Southern District of Texas
            Houston Division
            CA NO: 4:13-CV-02722
            Trial/Plaintiff

      49.   Kenneth Hunter, Rick Donathan, Jerry Medlin v. Town of Mocksville
            United States District Court
            Middle District of North Carolina
            CA NO: 1:12-cv-333
            Deposition/Trial/Plaintiff

      50.   Willie Grimes vs. City of Hickory, et al
            United States District Court
            Western District of North Carolina
            Statesville Division
            CA No 5:14-CV-160
            Deposition/Plaintiff

      51.   Spencer Mims Jr. vs City of Charlotte et al.
            General Court of Justice
            Superior Court Division State of North Carolina
            County of Mecklenburg
            2014 —CVS-23815
            Deposition/Plaintiff

     52.    Veronica Dorato vs. Officer Martin Smith, et al.
            United States District Court
            District of New Mexico
            No: 1:14-CV-00365 JB-GBW
            Deposition/Plaintiff

     53.    Jordan Jefferson v Thaddeus Reddish, City of New Haven et al
            United States District Court
            District of Connecticut
            CA 3:12-cv-01543-VLB
            Deposition/Plaintiff




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       54.   Reginald Newberne v. NC Department of Public Safety
             General Court of Justice
             Superior Court Division
             Wake County, NC
             Trial/Plaintiff

      55.    Lissette Hernandez v. Bob Hansell et al
             USDC
             Middle District of Florida
             Orlando Division
             CA NO: 6:14-cv-1351-ACC-DAB
             Trial/Plaintiff

      56.    Jeffrey Martin, et al v. Mississippi Dept of Public Safety
             Circuit Court of Lee County, Mississippi
             CA No: CV 2013-021
             Trial/Plaintiff

      57.    Sara Knowlton vs. Richland County, Ohio, et al
             USDC
             Northern District of Ohio
             Eastern Division
             CA NO: 1:15-CV-00210
             Deposition/Plaintiff




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                                           Appendix C

                                       Materials Reviewed

         1.       Amended Complaint;
         2.       Answer and Affirmative Defenses of St. Lucie County Fire District;
         3.       Answer and Affirmative Defenses - Sheriff Mascara;
         4.       Answer and Affirmative Defenses - Deputy Courtemanche;
         5.       Answer and Affirmative Defenses - Deputy Robinson;
         6.       Answer and Affirmative Defenses - Deputy Newman;
         7.       Answer and Affirmative Defenses - Deputy Mangrum;
         8.      Scheduling Order and Order Referring Case to Mediation;
         9.      Emergency Medical Guidelines (Plaintiffs Exhibit #1 Rosario Deposition);
         10.     St. Lucie County Fire District's Emergency Medical Guidelines for Ativan
                 use (Plaintiffs Exhibit #2 Rosario Deposition);
         1 1.    Deposition of Janice Docher-Neeley taken 2-2-16;
         12.     Deposition of Jose Rosario taken 4-13-17(volume 1);
         13.     Five(5)discs containing police reports, articles, event reports, witness
                 statements, CVS video/phone audio, 911 audio, audio/video witness
                 statements and photos and witness statements;
         14.     News article from WPBF 8-13-14;
         15.     Statement of Mark Brown dated January 26, 2015;
         16.     Statement of Leah Boles dated January 27, 2015;
         17.     St. Lucie County Sheriffs Office Statement Form statement of Leah Boles
                 dated 5-11-14;
         18.     Statement of Samantha Gileweski dated January 14, 2015;
         19.     Statement of Hardyal Bhagudas dated January 16, 2015;
         20.     Statement of Shawn P. Mahoney dated 12-18-14;
         21.     St. Lucie County Sheriffs Office Statement Foim statement of Shaun
                 Mahoney dated 5-11-14;
         22.    St. Lucie County Sheriffs Office, Ft. Pierce, Florida Miranda Warning for
                Shaun Mahoney dated 5-11-14;
         23.    Statement of Shannon Randolph dated 12-18-14;
         24.    Numerous photographs of scene, Docher and deputies involved;
         25.    St Lucie County Fire District Incident Report;
         26.    Incident Report SLCSO dated 1-14-16;
         27.    IA Files Responding Deputy Carmichael;
         28.    IA Files Responding Deputy Mangrum;
         29.    IA Files Responding Deputy Alonge;
         30.    IA Files Responding Deputy Robinson;
         31.    IA Files Responding Deputy Newman;
         32.    Personnel Actions-Deputy Claylan Mangrum;
         33.    Personnel Actions-Deputy Christopher Newman;
         34.    Personnel File of Responding Deputy Alonge;
         35.    Personnel File of Responding Deputy Mangrum;
         36.    Personnel File of Responding Deputy Newman;




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          37.   Personnel File of Responding Deputy Courtemanche; and
          38.   Personnel File of Responding Deputy Robinson;




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                                             Appendix D

                                            Facts Assumed

       At approximately 6:00 pm on Sunday, May 11, 2014, Mark Wayne Brown, an employee
       of the CVS Drug Store located at 301 NE Prima Vista Boulevard, Port St. Lucie, Florida,
       noticed a black male, later identified as Tavares Docher, in the CVS store.

      According to Brown, Docher was talking loudly, not making any sense, saying that
      somebody was at his house threatening him, and he had change missing from his laundry
      room. Because of his concern about Docher's behavior, Brown called 911 and was
      advised deputies from the St. Lucie County Sheriffs Office (SLCSO) would be sent to
      him. Docher then walked out of the store. According to Brown, Docher was "higher than
      a kite"(Page 13, SLCSO Case Supplemental Report #14-05401).

      At approximately 6:03 pm, SLCSO Deputies Christopher Newman, Clayton Mangrum
      and Calvin Robinson were dispatched to the CVS Store and made contact with Docher.

      According to the deputies, Docher was acting intoxicated, was unsteady on his feet,
      speaking loudly and swinging his hands and arms. Docher was holding a screwdriver in
      his right hand which he dropped when commanded to do so by Deputy Mangrum (Page
      6, SLCSO Case Supplemental Report #14-05401).

      According to Deputy Newman, Docher told him he had a few drinks, and Arabs were
      trying to kill his mother and him because they knew where the Arabs dropped the
      headless body in St. Lucie County.

      According to Deputy Newman, because Docher was able to tell them who and where he
      was, they decided to arrest Docher for disorderly intoxication instead of taking him into
      protective custody under the Baker Act (Page 6, SLCSO Case Supplemental Report #14-
      05401).

     According to Newman, he told Docher to put his hands behind his back because he was
     arresting him for Disorderly Intoxication. According to Newman, Docher did not have
     issues with that, complied with Newman's orders, and was handcuffed. However, when
     the deputies started to put Docher in a patrol car, Docher looked at all three deputies and
     took off. In response, all three deputies grabbed Docher and took him to the ground.
     While on the ground Deputy Mangrum delivered palm heel strike to Docher's large
     muscle groups and Deputy Newman delivered an elbow strike to the right side of
     Docher's head (Page 6, SLCSO Case Supplemental Report #14-05401).

     According to Deputy Newman, Docher tried to bite him so he delivered a second elbow
     strike to Docher's head (Page 25, SLCSO Case Supplemental Report #14-05401). Deputy
     Mangrum then called for Rescue to respond to treat Docher's injuries. Deputy Alonge
     then arrived on the scene and assisted in keeping Docher on the ground.




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       According to Deputy Mangrum, before medical personnel arrived on the scene, he
       noticed Docher go limp so he checked for a heartbeat and breathing and placed Docher in
       the recovery position (Page 25, SLCSO Case Supplemental Report #14-05401).

       After Medical arrived on the scene and started treating Docher, Docher came to and
       started fighting again and Rescue gave him a shot and one minute later Docher was calm
       enough to be placed on a gurney and put in an ambulance (Pages 25 and 26, SLCSO Case
       Supplemental Report #14-05401).

      According to citizen witness Merine Kanhai, she saw 3-4 deputies restraining an African
      American male and saw a deputy elbow the male in the face. The male was saying
      "Don't let them kill me" and the deputies were saying "stop resisting arrest." In her
      opinion the deputies were using excessive force (Page 21, SLCSO Case Supplemental
      Report #14-05401).

       Ariana Kanhai, another citizen witness, stated she saw deputies holding a man on the
       ground. He wasn't moving much. The deputies kept hitting the man after he was
       handcuffed. The deputy by the man's head kept hitting him with his elbows (Page 21,
       SLCSO Case Supplemental Report #14-05401).

       According to witness Zackery Taylor, the deputies were hitting the man with their elbows
      (Page 21, SLCSO Case Supplemental Report #14-05401).

      According to witness Leaha Boles, Doucher was "delusional and paranoial" and "very
      sweaty" and not acting normal(Page 21, SLCSO Case Supplemental Report #14-05401).

      According to witness Samantha Gilewski, Doucher "was pacing, nervous and delirious."
      "He was talking murders, ransom and rewards." (Page 21, SLCSO Case Supplemental
      Report #14-05401).

      According to witness Shannon Randolf, when she saw the incident Docher was on the
      ground with his hands behind his back and the cops "were beating the shit out of him




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                                                                                                             Appendix E
   Defensive Tactics Techniques:
   Deadly Force Techniques
   Deadly force is usually associated with the use ofa firearm. However, certain empty-hand
   techniques and unconventional weapons can be used effectively in a deadly force               OBJECTIVES.
   encounter. Empty-hand techniques become deadly force when they have the capability            DT501.3.T..Demonstrate'',the simulation -
   ofcausing great bodily harm or even death. A good example is a ground fight that turns            of deadly force techniques:
   into a deadly threat when a subject attempts to choke or bite you, gouge your eyes, or grab
   your gun. If you cannot access a weapon, then an empty-hand technique may help stop
   or disable your attacker, giving you the chance to recover to a different position.

   Some empty-hand techniques can become deadly force ifapplied to a specific target area
   of the body that is likely to result in great bodily harm or death. Some examples ofdeadly
   force techniques include the thumb strike, elbow strike, and eye gouge.(DT501.3.T)

   Deadly Force Thumb Strike
        Form a fist with your strong hand.
        Extend your thumb past the middle knuckle of your index finger.
        Squeeze your hand tightly so that the pad of the thumb pushes firmly against the
        index finger.
        Allow it to curl upward to form a slight bend that will lock the middle knuckle of
        the thumb.
        Using good control, deliver a strike to various areas of the subject. Some examples
        ofstriking areas include the throat and eyes. (See Figure 4-106)

   The throat and eyes are two examples of effective target areas for a deadly force
   thumb strike.

    Deadly Force Elbow Strike
    The deadly force elbow strike uses the tip of the elbow to target a specific area where
    great bodily harm may result. To be a deadly force strike, certain target areas must
    be stabilized.
    Some target areas for a deadly force elbow strike include the following:
         • temple
         • side ofjaw
         • bridge of nose
         • back of the head
                                                                                                 Deadly force thumb strike    Figure 4-106
         • throat (See Figure 4-107)




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   210•CMS Criminal Justice Defensive Tactics                                                          FL BRT Curriculum: Volume 2

                                                                                                               Appendix F


   Defensive Tactics Techniques:
   Threat Assessment Assessment aria riesp-una.
                                                 Though it may be difficult to determine factors that constitute a specific threat, there
  OBJECTIVES                                     are certain facts, circumstances, and conditions that, when taken together, may be
                                                 perceived by an officer as threatening.
  :DT501314.1-....1dentify.,the. necessity of
       conductinga,threat- assespment            An officer's assessment ofa perceived threat is critical for safety and influences his or her
  DT501 tc: tootity,yot-0816Rd:_                 actions when dealing with a situation. The more information an officer has, the better
     nonVert6aPCUe In'.assessing ,threats.       prepared he or she will be to assess the situation. All factors, whether obvious or not,
                                                 should be considered when assessing threats.(DT501.3.A.1.)
  DT5013 A. li)- eMronstrate officer
     presenoe.                                   Officers must recognize that threats may be fluid and constantly changing.
  DI.501,3*4; Demonstrate the                    Circumstances must be continually analyzed for their threat potential.
      interview stance
  DT501 3 A:5.                                  Subject Behavior
           . Demonstrate e
     offensive,reaify::,$terice..               There are certain verbal and nonverbal cues that indicate the possibility ofsubject
  DT501.3.A.3.b. lder tiiy relative             aggression or posturing.(DT50/./.C.)
     go.sitioning;
                                                Verbal cues may include abnormal stuttering,serious and specific swearing, and specific
                 DernOn$1ratelhe'fsli.de..s     verbal threats.
       step approaerrq.
  DT501.3.A.2. Demon itrate hpyr,to             Nonverbal cues may include the following:
      maintain'.a minimum reactionary                • increased breathing and pulse rates
      gap                                            •cessation ofall movement
  DT5013.A 3.a: Identify.,the danger zone.           •clenched fists and quivering hands
  DT501.3.B.1:!Demonstrate hand,                     • refusal to show palms of hands
     clearing techniques
                                                     •reddened or flushed face
  DT501.3.A;1.a. Detine.
                 .,    I, reactianifffie-
                                                     •expanding veins showing prominently on face and forearms
     pripcOle,-
                                                     •shifting ofshoulders or change ofstance
 'DT5011.3.1.1.. <Demonstrate evasion
       tecbniques.                                   • target glance

   1-501..312.--..DembnStrate redirection           •ignoring the officer
                       _                            •rapid, angry movements

                                                Excited Delirium
                                                Officers should be aware of unusual symptoms exhibited by a subject upon initial
                                                contact or that may develop or intensify during the course of the confrontation. These
                                                symptoms may be indicators of serious issues, such as physical illness, mental illness,
                                                drug reaction or overdose, or post-traumatic stress disorder.




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                                                                                      excited
                                           lly attributed to a condition known as
  he unusual symptoms or behavior is usua                            iolo gica l exci  tement
                                       e ofextreme mental and phys
delirium."Excited delirium is a stat                                          ssiv  e tear ing
                                      n and hyperactivity, overheating, exce
characterized by exceptional agitatio                                                   ranc e
                                        ngth, aggression, acute paranoia, and endu
of the eyes, hostility, superhuman stre
                                       2006).
without apparent fatigue"(Lewinski,
                                                                                     anation,
                                          could die suddenly and without expl
A subject in a state of excited delirium                                        y, the death
                                        den Death Syndrome. Unfortunatel
 a death sometimes referred to as Sud                                               ain levels
                                        ons ofan officer or his or her use ofcert
 may be wrongly attributed to the acti
 offorce.
                                                                                      diately
                                          ual symptoms, an officer should imme
 When confronting a subject with unus                                             rained.Take
                                       the position in which the subject is rest
 seek medical attention. Be careful of                               and  prop  er circulation
                                       ensure continuous breathing
  care to maintain an open airway,and
  until medical help arrives.

 Environmental Factors                                                       at assessment
                                       rhatshould also be considered in thre
  Some potential environmental factors                          of anim als,  presence of
                                         ns, terrain, presence
  may include weather, traffic conditio
  bystanders, and potential weapons.

  Presence                                                                          you are able
                                          convey to subjects and onlookers that
   Officer presence is your ability to                                         you depends on
                                          ' and onlookers' reaction toward
   and ready to take control. Subjects
                                             yourself.
   their perceptions of how you present
                                                                                movements and
                                          t nonverbal communication.Some
   You should be aware ofand interpre                                           shifting feet, or
                                          ession, for example, clenched fists,
   gestures are dues to escalating aggr                                    e your  attitudes and
                                         rve your actions to determin
   hidden hands. Subjects also obse                                        By simp ly arriving on
                                          first response to any situation.
    intentions. Officer presence is your
                                             or situation.(DT501.3.A)
    the scene, an officer affects a subject
                                                                                  can determine
                                            you carry yourself. Your presence
     Command presence is the way                                                 man  d presence
                                           lates or de-escalates. A good com
     whether a subject's resistance esca                                        the task at hand.
                                           your skills and abilities to perform
     projects an image ofconfidence in                                          ce (uniform and
        por tan t aspe cts of com man d  presence include personal appearan
     Im                                                                         oundings.
                                           and alertness and attention to surr
     personal grooming), erect posture,

    Stances
                                                       )
     Interview Stance (DT501.3.A.4
                                          aligned.
          Stand with head, hips, and feet
                                               t with the knees slightly bent.
          Place your feet shoulder-width apar                                                                          Figure 4-4
                                          with the strong side away.                                Interview stance
          Angle your body to the subject
                                            l. (See Figure 4-4)
          Place your hands above waist leve




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                                             Appendix G

         IACP National Law Enforcement Policy Center
                                EXCITED DELIRIUM
                                           Model Policy
                                           January 2014

      I. PURPOSE
             The purpose of this policy is to provide guidance and direction in the handling of
         individuals who may appear to law enforcement officers and others to be in a state of
         excited delirium (ExDS). This policy is part of a cooperative response protocol shared
         by this department, the emergency call center, Emergency Medical Services(EMS),
         and hospital emergency department staff. The coordinated activities and
         responsibilities identified herein are designed to enhance the response to incidents
         involving excited delirium.

      IL POLICY
             Rapid control of the subject and transfer to the care of emergency medical
         providers should be the primary objectives oflaw enforcement officers unless other
         action is necessary in order to protect officers or others. The underlying causes of
         ExDS are not fully understood, although its common symptoms have been
         documented and witnessed by police officers. Persons exhibiting symptomatic
         behavior should be suspected of being the subject of a medical emergency that could
         result in sudden death.

      III.DEFINITIONS
              Excited Delirium Syndrome (ExDS): A medical disorder generally characterized
          by observable behaviors including extreme mental and physiological excitement,
          intense agitation, hypertherniia often resulting in nudity, hostility, exceptional
          strength, endurance without apparent fatigue, and unusual calmness after restraint
          accompanied by a risk of sudden death.'
              Medical Syndrome: A collection of behavioral and physiological signs and
          symptoms of a medical disorder known to frequently appear together but without a
          full understanding of their underlying cause or causes.

      IV.PROCEDURES
         A. Initial Call
                 1. Calls associated with ExDS often include descriptions by complainants of
                     wild, uncontrollable physical action, and hostility that comes on rapidly.
                2. Where there is suspicion from the complainant that ExDS might be
                     involved, call takers shall request the following types of information:
                         a. Specific behaviors ofthe subject




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                           b. Whether the subject has been or is using PCP, methamphetamine,
                               cocaine, alcohol, or other mind-altering substances separately or in
                               combination.
                           c. Whether the subject has a history of mental or physical illness or
                               substance use.
                  3. When information suggests ExDS, a sufficient number of officers to
                       physically control the subject should be dispatched together with
                       Advanced Life Support EMS personnel, all of whom shall be alerted to the
                       possibility that the call may involve ExDS.
                 4. A supervisory officer should be dispatched to all such calls for service,
                       when reasonably possible.
                 5. The caller should be kept on the line, unless it is unsafe or impractical so
                       he or she can provide updated information about the subject that can be
                      relayed to responding officers and emergency medical providers.
         B. Assessment
                  While officers cannot diagnose ExDS,they should be cognizant of specific
             signs and characteristic symptoms. These may include one or more ofthe
            following.
                 1. Constant or near constant physical activity
                 2. Irresponsiveness to police presence
                 3. Nakedness/inadequate clothing that may indicate "self-cooling" attempts
                 4. Elevated body temperature/Hot to touch
                 5. Rapid breathing
                 6. Profuse sweating
                 7. Extreme aggression or violence
                 8. Making unintelligible, animal-like noises
                 9. Insensitivity to/extreme tolerance of pain
                 10. Excessive strength (out of proportion)
                 1 1. Lack of fatigue despite heavy exertion
                 12. Screaming and incoherent talk
                 13. Paranoid or panicked demeanor
                 14. Attraction to bright lights/loud sounds/glass or shiny objects
         C. Control
                Physical control must be affected quickly to minimize the intensity and
            duration of resistance and struggle, which often are direct contributors to sudden
            death.
                1. When responding to a call involving possible ExDS, officers shall do the
                     following:
                          a. Eliminate unnecessary emergency lights and sirens.
                          b. Ensure that an adequate number of backup officers have been
                              dispatched to affect rapid control ofthe suspect.
                          c. Ensure that EMS is on the scene or en route. Where possible, EMS
                              should be on site when subject control is initiated.
                2. When the individual is responsive to verbal commands, one officer should
                     approach the subject and employ verbal techniques to help reduce his or
                     her agitation before resorting to the use of force. The officer should




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                           a. not rush toward, become confrontational, verbally challenge, or
                               attempt to intimidate the subject, as he or she may not comprehend
                               or respond positively to these actions and may become even more
                               agitated or combative; and
                           b. ask the subject to sit down, which may have a calming effect, and
                               be prepared to repeat instructions or questions.2
                3. Pepper spray, impact weapons, and electronic control weapons(ECWs)
                      used in drive stun contact mode are normally ineffective due to the
                      subject's elevated threshold of pain.
                4. If an ECW is used in probe mode,the officer shall energize the suspect no
                      longer than necessary to overcome resistance. The subject should be
                     restrained as soon as practical while affected by ECW power.
                5. Alternately, a physical takedown using a swarming technique is an
                     effective means of obtaining compliance as long as an adequate number of
                     officers are available. Lateral vascular neck restraint, if authorized, is
                     another effective means of obtaining control. A coordinated restraint plan
                     should be devised quickly before implementing these approaches.
               6. Officers should use only those restraints that appear necessary to control
                     the situation and only for the period oftime required.
               7. When restrained, officers should position the subject in a manner that will
                     assist breathing, such as placement on his or her side, and avoid pressure
                    to the chest, neck, or head.
               8. Reasonable steps should be taken to avoid injury, such as moving the
                    subject from asphalt to a grassy area to reduce abrasions and contusions.
               9. Officers should not attempt to control continued resistance or exertion by
                    pinning the subject to the ground or against a solid object, using their body
                    weight.
               10. Officers should check the subject's pulse and respiration on a continuous
                    basis until transferred to EMS personnel. Officers shall ensure the airway
                    is unrestricted and be prepared to administer CPR or an automated
                    external defibrillator(AED)if the subject becomes unconscious.
               1 1. If the subject becomes calm and breathing is not labored shortly during or
                    after the application of restraints while officers are still gasping for air, it
                    may be an indication that the subject is in jeopardy and requires immediate
                    medical attention to avoid cardiac arrest.
               12. Individual officers who encounter persons exhibiting symptoms of ExDS
                   should adhere to the following guidelines.
                         a. When there is no apparent threat ofimmediate injury to the subject
                             or others, the officer should not attempt to take physical control of
                             the subject. This would likely precipitate a struggle and exacerbate
                             the subject's physical and emotional distress. The officer should
                             wait for backup and EMS assistance before attempting to control
                             the subject.
                         b. If the subject poses a threat of death or serious bodily injury to the
                             officer, others, or to him or herself, apart from the dangers inherent



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                              in ExDS alone, intervention should be taken using that level of
                             force reasonably necessary to control the individual.
                         c. If it can be determined that the subject has been under duress for
                             an extended period of time, the symptoms of ExDS appear acute,
                             and EMS is not readily available, the officer should consider
                             affecting control and transporting the subject to the nearest
                             emergency medical facility. This decision should be based largely
                             on whether police backup and/or EMS assistance is forthcoming,
                             and the officer's judgment as to his or her ability to gain control
                             through the use ofECWs or similar means without undue personal
                            risk of bodily harm.
         D. Emergency Medical Response
                1. As soon as control is obtained, pre-staged EMS personnel should examine
                    the subject and provide emergency medical aid as necessary, to include
                    sedation and cooling as indicated.
               2. If sedation is authorized, officers shall work with EMS to control the
                   subject for purposes of drug administration.
               3. Whenever possible, an officer should accompany the subject to the
                   hospital for security purposes and to provide assistance as necessary.
         E. Documentation
               1. Documentation of ExDS incidents is critical for purposes of post-incident
                   personnel review and debriefing, training, creation of a historical record to
                   respond effectively to any civil litigation that may arise, and to respond
                   effectively to inquiries concerning the incident from the community and
                   the media. Documentation should include, at a minimum,
                        a. Conditions at the incident scene
                        b. Description of the subject's behavior and its duration
                        c. Description of what the subject said during the event
                        d. Type of and duration of resistance
                        e. Identity of officers at the scene
                       f. Actions taken to control the subject
                        g. Restraints used on the subject and the length of time applied
                       h. Location ofthe restraints on the subject
                       i. Response time and actions taken by EMS,including a list of drugs
                           given to the patient
                      j. Means oftransport and total elapsed time oftransport
                       k. Behavior of the subject during transport
                       1. Means of resuscitation, if appropriate
                       m. Vital signs; especially body temperature
                       n. Ambient temperature at the time ofthe incident(warm
                           temperatures are associated with increased frequency of ExDS)
                      o. Results oftests and medical assessments taken by EMS personnel
                           and emergency medical staff
                      p. Results of autopsy, if appropriate
                      q. Information from relatives and friends of the subject that can
                           provide insight to the potential causation ofthe incident


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                                    r. Measures taken by EOC during initial receipt of the call for
                                       service, dispatch, and follow up
                                    s. Analysis of incident and arrest reports and any other information
                                       from involved police personnel concerning the department's
                                       response to ExDS
                                    t. Where in-car video cameras and related video recordings are
                                       available, they should be used to document the actions of the
                                       subject and officers during the incident
             F. Training
                    1. This department's training authority shall ensure that officers are properly
                       prepared for such incidents, including early detection of ExDS, instruction
                       in defensive tactics recommended for use when dealing with ExDS
                       subjects, tactics and techniques that should be avoided, and protocols for
                       interfacing with emergency medical responders.
                   2. Emergency call center staff shall be trained to recognize symptoms that
                       may indicate that an incident involves someone experiencing ExDS.

       Acknowledgment
       This document was prepared by the IACP National Law Enforcement Policy Center, in
       conjunction with the IACP Police Physicians Section and the IACP Police Psychological
       Services Section.


      Endnotes
        A broad based panel of experts, commissioned by the National Institute of Justice, US Department of
      Justice, concluded that "the consensus view ofthe panel's medical experts is that this syndrome is indeed
      real." Special Panel Review of Excited Delirium, Weapons and Protective Systems Technology Center,
      December 2011. This is not necessarily the view ofthe NIJ or USDOJ. However, the report illustrates the
      continuing debate on underlying causation rather than whether the syndrome, by any other name, exists.
          The term "excited delirium" has been accepted by the National Association of Medical Examiners
     (NAME),the American College ofEmergency Physicians(ACEP), and other medical experts but not by
      the American Medical Association or the American Psychiatric Association.
        While verbal de-escalation techniques should be employed before the use of force, due to the extreme
     fear, confusion, agitation, and panic characteristic of ExDS,these actions will not normally be adequate in
      efforts to gain compliance sufficient to apply restraints.



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      Every effort has been made by the IACP National Law Enforcement Policy Center staff and advisory board to ensure that this model
      policy incorporates the most current information and contemporary professional judgment on this issue. However, law enforcement
      administrators should be cautioned that no "model" policy can meet all the needs of any given law enforcement agency. Each law
      enforcement agency operates in a unique environment of federal court rulings, state laws, local ordinances, regulations,judicial and
      administrative decisions and collective bargaining agreements that must be considered. In addition, the formulation ofspecific agency
      policies must take into account local political and community perspectives and customs, prerogatives and demands; often divergent
      law enforcement strategies and philosophies; and the impact of varied agency resource capabilities among other factors.

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      Assistance is a component of the Office ofJustice Programs, which also includes the Bureau ofJustice Statistics, the National Institute
      ofJustice, the Office of Juvenile Justice and Delinquency Prevention, the SMART Office, and the Office for Victims of Crime. Points


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       of view or opinions in this document are those of the author and do not represent the official position or policies of the United States
       Department of Justice or the IACP.

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       International Association of Chiefs of Police.




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  U.S. Department of Justice
  Office of Justice Programs
  National Institute ofJustice




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 June 1995                                                                                         A National Institute of Justice Program



         Positional Asphyxia—Sudden Death
 Major portions ofthis bulletin are drawnfrom a reportprepared by the International Association ofChick' ofPolicefor the National Institute of
 Justice (NIJ), based on research conducted by Dr. Charles S. Petty, Professor ofForensic Pathology, University of Texas, and Dr. Edward T.
 McDonough, Deputy ChiefMedical Examiner, State ofConnecticut, and reviewed by the Less-Than-Lethal Liability Task Group.


Police, sheriffs, and correctional officers       cases involving positional asphyxia is          • Unresponsiveness of subject during
 have a limited and largely inadequate set        also included. Through officer awareness          or immediately after a struggle.
of tools to use to safely subdue violent          and resultant action, it is anticipated that     Such unresponsive behavior may
and aggressive subjects. Through N1J's            deaths attributable to this cause will be         indicate cardiopulmonary arrest and
 National Law Enforcement Technology              reduced.                                          the need for immediate medical
Center(NLETC), the Federal Govern-                                                                 attention.
ment is working to identify and support          Sudden in-custody death is not a new
the development of a range of less-than-         phenomenon—it can occur at any time,              It is important to understand how
lethal technologies—from those suitable          for a variety of reasons. Any law enforce-        preexisting risk factors, combined with
for one-on-one encounters to those that          ment agency may experience a sudden in-           the subject's body position when subdued
might be used for stopping fleeing               custody death, and while rare, such               or in transit, can compound the risk of
vehicles. In a recent analysis of in-            deaths appear to be associated most often         sudden death. Information contained in
custody deaths, we discovered evidence           with the following variables:                     this bulletin may help to alert officers to
that unexplained in-custody deaths are                                                             those factors found frequently in deaths
                                                 is Cocaine-induced bizarre or frenzied
caused more often than is generally                                                                involving positional asphyxia.
                                                     behavior. When occurring while
known by a little-known phenomenon
                                                    confined by restraints, cocaine-
called positional asphyxia.                                                                       Basic Physiology of
                                                    induced excited delirium (an acute
This NLETC bulletin presents informa-                mental disorder characterized by             a Struggle
tion relevant to positional asphyxia—i.e.,          impaired thinking, disorientation,            A person lying on his stomach has
death as a result of body position that             visual hallucinations, and illusions)         trouble breathing when pressure is
interferes with one's ability to breathe—           may increase a subject's susceptibility       applied to his back. The remedy seems
as it occurs within a confrontational               to sudden death by effecting an               relatively simple: get the pressure off his
situation involving law enforcement                 increase of the heart rate to a critical      back. However, during a violent struggle
officers. We offer this information to help         level.                                        between an officer or officers and a
officers recognize factors contributing to                                                        suspect, the solution is not as simple as it
                                                • Drugs and/or alcohol intoxication.
this phenomenon and, therefore, enable                                                            may sound. Often, the situation is
                                                  Drug and acute alcohol intoxication is
them to respond in a way that will ensure                                                         compounded by a vicious cycle of
                                                  a major risk factor because respiratory
the subject's safety and minimize risk of                                                         suspect resistance and officer restraint:
                                                  drive is reduced, and subjects may not
death.
                                                  realize they are suffocating.                   a A suspect is restrained in a face-down
The bulletin identifies factors found to                                                            position, and breathing may become
                                                • Violent struggle extreme enough to
precipitate positional asphyxia, and                                                                labored.
                                                  require the officers to employ some
provides recommendations for ensuring a
                                                  type of restraint technique. Subjects           a Weight is applied to the person's
subject's safety and advisory guidelines
                                                  who have engaged in extreme violent               back—the more weight, the more
for care of subjects. Information regard-
                                                  activities may be more vulnerable to              severe the degree of compression.
ing the collection of potential evidence in
                                                 subsequent respiratory muscle failure.




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 • The individual experiences increased
   difficulty breathing.                       Officer Subduing a Violent Suspect and How It Can Interfere With Breathing

 • The natural reaction to oxygen
   deficiency occurs—the person
   struggles more violently.
                                                  Subject's chest
                                                  fully extended.
 • The officer applies more compression
   to subdue the individual.                                                                                   Breathing becomes
                                                                                                                    labored due to
                                                                                                                       ssure being
  Predisposing Factors to                                                                                          /' exerted on
  Positional Asphyxia                                                                                                    subject's
                                                                                                                             back.
  Certain factors may render some indi-
  viduals more susceptible to positional
  asphyxia following a violent struggle,
  particularly when prone in a face-down
  position:

 • Obesity.

• Alcohol and high drug use.

• An enlarged heart(renders an indi-
  vidual more susceptible to a cardiac
  arrhythmia under conditions of low
  blood oxygen and stress).
 The risk of positional asphyxia is
 compounded when an individual with                                                       Officer subdues violent suspect.
 predisposing factors becomes involved in
 a violent struggle with an officer or
 officers, particularly when physical
 restraint includes use of behind-the-back   • As soon as the suspect is handcuffed,        • If the subject is turned over to a
 handcuffing combined with placing the           get him off his stomach.                     detention facility, inform the facility's
 subject in a stomach-down position.                                                          custodians of any preexisting medical
                                             • Ask the subject if he has used drugs           conditions(cardiac, respiratory) or
                                                recently or suffers from any cardiac or       that the subject requested or needed
 Advisory Guidelines for                        respiratory diseases or conditions such       medical treatment because of respira-
 Care of Subdued Subjects                       as asthma, bronchitis, or emphysema.          tory difficulty or because he became
 To help ensure subject safety and            ■ Monitor subject carefully and obtain          unconscious.
 minimize the risk ofsudden in-custody          medical treatment if needed.
 death, officers should learn to recognize
                                                                                             Collection of Potential
 factors contributing to positional as-         Be trained to recognize breathing
 phyxia. Where possible, avoid the use of       difficulties or loss of consciousness
                                                                                             Evidence
 maximally prone restraint techniques           and immediately transport the indi-         Officers involved in confrontational
(e.g., hogtying). To help minimize the          vidual to the emergency room,or call        situations should collect information that
 potential for in-custody injury or death,      for an emergency medical team               may later be of value in a civil or perhaps
 officers should:                              (EMT)unit ifsuch signs are observed.         criminal action.

• Follow existing training and policy        • Obtain medical care upon subject's           A use-of-force report should include
  guidelines for situations involving          request.                                     details of how the individual was
  physical restraint ofsubjects.


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  restrained. The following information       Conclusion
  should be included:                                                                           NYPD's Guidelines to Preventing Deaths
                                              To help minimize the risk of positional           in Custody
  ■ What was the nature of the postarrest     asphyxia, diligent observation and
                                                                                                ■ As soon as the subject is handcuffed,
    restraint procedure? Identify whatever    monitoring of subjects displaying any one
                                                                                                  gel him offhis stomach. Turn him on
    type of restraint (including chemical     or a combination of the described
                                                                                                  his side or place him in a seated
    incapacitants) was used.                  indicators are procedurally warranted.              position.
                                              Furthermore, the use of maximal, prone
  ■ How long was the subject face down        restraint techniques should be avoided. If        ■ If he continues to struggle, do not sit
    and/or restrained?                        prone positioning is required, subjects             on his back. Hold his legs down or
                                                                                                  wrap his legs with a strap.
                                              should be closely and continuously
 ■ How was the subject transported, and
                                              monitored. By implementing such                   ■ Never tie the handcuffs to a leg or
   in what position was the subject                                                               ankle restraint.
                                              procedural protocols, the potential for in-
   during transport?
                                              custody deaths may be lessened.                   ■ If required. get the suspect immediate
 ■ How long did the transport phase last,                                                         medical attention.
   and what observations were made of
                                                                                               ■ Do not lay the person on his stomach
   the subject's condition?                                                                      during transport to a station house or
 To reasonably establish the cause of                                                            hospital. Instead, place him in a seated
                                                                                                 position.
 death or serious injury, a broad range of
                                               NLETC Bulletin
 factors must be examined:                                                                     ■ An officer should sit in the rear seat
                                              The NLETC Bulletin is designed as a forum          beside the suspect for observation and
 ■ Nature of the confrontation.               for disseminating to the law enforcement
                                                                                                 control.
                                              and criminal justice communities the most
 ■ Weapon(s), if any, employed by             current information on technologies              The New York City Police Department
                                              relevant to your needs. We welcome your
   officers.'                                                                                 (NYPD)has developed a training tape on
                                              comments or recommendations for future           positional asphyxia. The Department has
                                              Bulletins.
 ■ Duration of the physical combat.                                                            agreed to make the tape available to interested
                                                                                               law enforcement agencies. To request a
 ■ System or type of postarrest restraint     The National Law Enforcement Technol-           complimentary copy,please send your written
                                              ogy Center is designing data bases to help       request on departmental letterhead, and a blank
   employed.
                                              respond to agencies that want to know who        VHS tape, to the Deputy Commissioner of
                                               manufactures a specific product and what       Training, NYPD,235 East 20th Street, New
 ■ Transportation of the subject: destina-
                                              other agencies may be using that product.        York, New York 10003.
   tion, duration, mode of transport, and     Your contributions to the Center's
   position ofsubject during transport.       information network are important. What
                                              technologies or techniques are you using
■ Emergency room observations and             that you would like to share with col-
                                                                                              The National Law Enforcement Technol-
  actions, names ofattending medical          leagues? Please call or write to the National
                                                                                              ogy Center is supported by Cooperative
  personnel.                                  Law Enforcement Technology Center, P.O.
                                                                                              Agreement #95—D—CX-1(002 awarded by
                                              Box 1160, Rockville, MD 20849,
                                                                                              the U.S. Department of Justice,National
■ Postmortem examination (autopsy)of          800-248-2742.
                                                                                              Institute ofJustice.
  subject: nature of injuries, diseases
                                                                                              The National Institute of Justice is a
  present, drugs present, and other                                                           component ofthe Office ofJustice
  physical factors.                                                                           Programs, which also includes the Bureau
                                                                                              ofJustice Assistance, Bureau ofJustice
                                                                                              Statistics, Office ofJuvenile Justice and
•If any incapacitant was used (e.g., pepper                                                   Delinquency Prevention,and Office for
spray), the delivery system should immedi-                                                    Victims of Crime.
ately be secured for possible analysis.




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